               Case 18-24656-TPA                  Doc 1       Filed 11/30/18 Entered 11/30/18 17:46:21                              Desc Main
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Fill In this infonnatlon to Identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF PENNSYLVANIA

Case number (Wknown)                                                        Chapter      11
                                                                                                                          C Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
if more space Is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtors name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


i.   Debtor’s name                Vovaaer GrouD. LP

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor’s federal
     Employer Identification      25-1 870394
     Number (EIN)


4.   Debtor’s address             Principal place of business                                     Mailing address, If different from principal place of
                                                                                                  business

                                  90 Beta Drive
                                  Pittsburgh, PA 15238
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Allegheny                                                       Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor’s website (URL)


6.   Type of debtor               C   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                  N Partnership (excluding LLP)
                                  C   Other. Specify:




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Debtor     Voyager Group, LP                                                                          Case number   (it known)
           Name



7.   Describe debtor’s business       A. Check one:
                                      D Health Care Business (as defined in Ii U.S.C. § 101(27A))
                                      D Single Asset Real Estate (as defined in 11 U.S.C. § 101(518))
                                      D Railroad (as defined in ii u.s.c § 101 (44))
                                      C Stockbroker (as defined in ii U.S.C. § 101(53A))
                                      C Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                      C Clearing Bank (as defined in 11 U.S.C. § 751(3))
                                      • None of the above

                                      B. Check all that apply
                                      C Tax-exempt entity (as described in 26 U.S.C. §501)
                                      C Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                      C Investment aovisor (as defined in 15 U.S.C. §BOb-2(a)(11))

                                      C. NAICS (North Amercan Industry Classification System) 4-digit code that bestdescribes debtor.
                                         See http://w.uscourts,gov/four-digit-national-association-naics-codes.
                                               5511

8.   Under which chapter of the       Check one:
     Bankruptcy Code Is the
     debtor filing?                      Cha p ter 7
                                      C Chapter 9
                                      • Chapter 11. Check all that apply:

                                                          o     Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                          o     The debtor is a small business debtor as defined in ii U.S.C. § 101(51D). If the debtor is a small
                                                                business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                procedure in 11 U.S.C. § 1116(1)(8).
                                                                A plan is being filed with this petition.
                                                                Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                accordance with H U.S.C. § 1126(b).
                                                          0     The debtor is required to file periodic reports (for example. 10K and 100) with the Securities and
                                                                Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934, File the
                                                                attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                (Official Form 201A) with this form.
                                                          C     The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                      C Chaper12


9.   Were prior bankruptcy            • No
     cases filed by or against
     the debtor within the last 8     0 Yes.
     years?
     If mare than 2 cases, attach a
     separate list.                            District                                  Wnen                                    Case number
                                               District                                  flhen                                   Case number

10. Are any bankruptcy cases          • No
    pending or being filed by a
    business partner or an            C Yes,
    affiliate of the debtor?
    List all cases, If more than 1,
    attach a separate list                     Debtor                                                                       Relationship
                                               District                                  When                               Case number, if known




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Debtor     Voyager Group, LP                                                                                            Case number (fkncwn)
           Name


11. Why is the case filed In          Check all that apply
      this district?
                                      •      Debtor has had its domicile, principal place of business, or principal assets in this district for 160 days immediately
                                             preceding the date of this petition or for a longer pad of such 160 days than in any other district.
                                      C      A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12.   Does the debtor own or          • No
      have possession of any
      real property or personal       C   Yes,     Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property that needs
      immediate attention?                         Why does the property need Immediate attention? (Check all that apply)
                                                   C         It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                         What is the hazard?
                                                   C         It needs to be physically secured or protected from the weather.
                                                   C      It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                         livestock, seasonal goods, meat. dairy. produce, or securities-related assets or other options).
                                                   C         Other
                                                   Where is the property?
                                                                                           Number. Street, City. State & ZIP Code
                                                   Is the property Insured?
                                                   CNo
                                                   C         Yes.    Insurance agency
                                                                     Contact name
                                                                     Phone


           Statistical and administrative information
13.   Debtor’s estimation of      .              Check one:
      available funds
                                                 • Funds will be available for distribution to unsecured creditors.
                                                 C After any administrative         expenses are paid, no funds will be available to unsecured creditors.

14.   Estimated number of
      creditors
                                  •       1-49                                                 C   1.000-5.000                                 C   25.001 -50000
                                  C       50-99                                                C   5001-10,000                                 C   50,001-100,000
                                  C       100-199                                              C   10,001-25.000                               C   More thanloD,000
                                  C       200-999

15.   EstImated Assets            C       $0 $50,000
                                             -                                                C    $1,000,001 $10 million
                                                                                                                -                              C   $500,000,001 -$1 billion
                                  C       $50,001 sioo,ooo                                    C    $10,000,001 $50 million
                                                                                                                    -                          C   $1,000,000,001- $10 billion
                                  C       $100,001 $500,000
                                                         -                                    C    $50,000,001 -$100 million                   C   $10,000,000,001 $50 billion
                                                                                                                                                                    -




                                  • $500,001             -   $1 million                       C    $100,000,001 $500 million
                                                                                                                        -                      C   More than $50 billion

16.   Estimated liabilities       C       $0- $50,000                                         C    $1,000,001   -   $10 million                C   $500,000,001 $1 billion
                                                                                                                                                                -




                                  C        $50,001 $100,000
                                                     -
                                                                                              • $10,000,001     $50 million
                                                                                                                    -
                                                                                                                                               C   $1,000,000,001- $10 billion
                                  C       5100.001 5500,000
                                                         -
                                                                                              C    $50,000,001- $100 million                   C   $10,000,000,001 $50 billion
                                                                                                                                                                    -




                                  C       $500,001 -51 million                                C    $100,000,001 5500 million
                                                                                                                        -
                                                                                                                                               C   More than $50 bClion




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Debtor    Voyager Group, LP                                                                           Case number   (if known)
          Name


          Request for Relief, Declaration, and Signatures

WARNING     —   Bankruptcy fraud is a serious crime Making a false statement in connection with a bankruptcy case can result in fines up to $500000 or
                imprisonment for up to 20 years. or both. 18 U.S.C. § 152. 1341 1519. and 3571

17. Declaration and signature
    of authorized                   The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                    I have been authorized to file this petition on behalf of the debtor.

                                    I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                    I declare under penalty of perjury that the foregoing is true and correct,

                                    Executed on      November 30, 2018
                                                     MM / DD I YYYY


                                X   Is! John Franciscus                                                     John Franciscus
                                    Signature of authorized representative of debtor                        Primed name

                                            Vice President of Ascent Resort
                                    Title   Partners, LLC,G.P.




18. Signature of attorney       x   Is! RobertO Lampl                                                        Date November 30, 2018
                                    Signature of attorney for debtor                                              MM! DD / YYYY

                                    RobertO Lampl 19809
                                    Printed name

                                    RobertO Lampi Law Office
                                    Firm name

                                    Benedum Trees Building
                                    223 Fourth Avenue, 4th Floor
                                    Pittsburgh, PA 15222
                                    Number, Street. City. State & ZIP Code


                                    Contact phone     412-392-0330                  Email address      rlampl@lampllaw.com

                                    19809
                                    Bar number and State




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 Fill in this information to identify the case:
 Debtor name                 r Grou LP
 United Slates Bankruptcy Court for the: WESTERN DISTRICT OF                                                                                         C Check if this is an
                                                PENNSYLVANIA
 Case number (if known):                                                                                                                                  amended filing



Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                           IndIcate If claim   Amount of claim
 complete mailing address, and email address of   (for exampe. trace                         Is contingent,     if the claim is fu:ly unsecured. liii in ony ur.secured claim amount, If
 Including zip code        creditor contact       debts! bank loans,                        unliquldated, or    claim is parlialiy secured, liii in total claim amount and deduction for
                                                  professional services,                        disputed        vaiue of coliateral or setoff to caiculate unsecured claim
                                                  and governnent                                                Totai ciaim, If             Deduction for value       Unsecured claim
                                                  contracts)                                                    partially secured          of collateral or setoff
 Dollar Bank                                                                                                           $799,786.30                         $0.00            $799,786.30
 do
 Bernstein -Bu rkley
 707 Grant Street,
 Suite 2200
 Pittsburgh, PA
 15219
 Holsinger, PC                                                                             Disputed                 $1,500,000.00                          $0.00         $1,500,000.00
 117 VIP Drive, Suite
 220
 Wexford, PA 15090
 Jgar Financial, LLC                                                                       Disputed               $17,000,000.00                           $0.00       $17,000,000.00
 do Tucker
 Arensburg
 One PPG Place,
 Suite 1500
 Pittsburgh, PA
 15222
 Xamoc, LLC                                                                                                         $1,148,926.28                          $0.00         $1,148,926.28
 do Williams
 Coulson
 One Gateway
 Center, 16th Floor
 420 Fort Duquesne
 Blvd.
 Pittsburgh, PA
.15222


                                                                                NO ADDITIONAL CREDITORS




Officiai form 204                                   Chapter 11 or Chapter 9 Cases: List of Creditors io Have the 20 Largest Unsecured claims                                  page 1

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                                                                United States Bankruptcy Court
                                                                 Western District of Pennsylvania
   In re      Voyager Group, LP                                                                          Case No.
                                                                                Debtor(s)                Chapter    11



                                                  VERIFICATION OF CREDITOR MATRIX


 I, the Vice President of Ascent Resort Partners, LLC,G.P. of the partnership named as the debtor in this case, hereby verii’ that the

 attached list of creditors is true and correct to the best ofmy knowledge.




  Date:       November 30, 2018                                       /s/John Franciscus
                                                                      John Franciscus/Vice President of Ascent Resort Partners,
                                                                      LLC,G.P.
                                                                      Signer/Title




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                                              -
                                                                                                                                  Best Case Bankruptcy
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                    Dollar Bank
                    c/c Bernstein—Burkley
                    707 Grant Street, Suite 2200
                    Pittsburgh, PA 15219

                    Hclsinger, PC
                    117 VIP Drive, Suite 220
                    Wexfcrd, PA 15090

                    Jgar Financial, LLC
                    c/c Tucker Arensburg
                    One PPG Place, Suite 1500
                    Pittsburgh, PA 15222

                    Xamoc, LLC
                    c/c Williams Cculscn
                    One Gateway Center, 16th Fleer
                    420 Fcrt Duquesne Blvd.
                    Pittsburgh, PA 15222
